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16
                          IN THE UNITED STATES DISTRICT COURT
17                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                    SAN JOSE DIVISION
18
     MATT JONES, BRYSON DECHAMBEAU,                   CASE NO. 5:22-cv-04486-BLF-SVK
19   PETER UIHLEIN, and LIV GOLF INC.,
                                                      [PROPOSED] STIPULATED PROTECTIVE
20                    Plaintiffs,                     ORDER
21         v.
22   PGA TOUR, INC.,
23                    Defendant and Counter-
                      Plaintiff,
24
           v.
25
     LIV GOLF INC.,
26
                          Counter-Defendant.
27

28


                              [PROPOSED] STIPULATED PROTECTIVE ORDER
                                    Case No. 5:22-CV-04486-BLF (SVK)
 1   I.     PURPOSES AND LIMITATIONS

 2          Plaintiffs Matt Jones, Bryson Dechambeau, Peter Uihlein, and Plaintiff and Counter-

 3   Defendant LIV Golf, Inc. and Defendant and Counter-Claimant PGA Tour, Inc. (collectively

 4   referred to herein as the “Parties”) 1 anticipate that disclosure and discovery activity by non-party
                                        0F




 5   NexGen Sports Group, Inc. d/b/a TMRW Sports (together with its affiliates, “TMRW Sports”) in

 6   this action are likely to involve production of confidential, proprietary, or private information for

 7   which special protection from public disclosure, disclosure to counsel employed by a party to this

 8   action, and from use for any purpose other than prosecuting this litigation may be warranted.

 9   Accordingly, the Parties and TMRW Sports hereby stipulate to and petition this court to enter the

10   following Stipulated Protective Order (“Order”). The Parties and TMRW Sports acknowledge

11   that this Order does not confer blanket protections on all disclosures or responses to discovery

12   and that the protection it affords from public disclosure and use extends only to the limited

13   information or items that are entitled to confidential treatment under the applicable legal

14   principles. The Parties and TMRW Sports further acknowledge, as set forth in Section 12.4

15   below, that this Order does not entitle them to file confidential information under seal; Civil

16   Local Rule 79-5 sets forth the procedures that must be followed and the standards that will be

17   applied when a Party seeks permission from the court to file material under seal.

18   II.    DEFINITIONS
19          2.1     Challenging Party: a Party or Non-Party that challenges the designation of
20
     information or items under this Order.
21
            2.2     “CONFIDENTIAL” Information or Items: information (regardless of how it is
22
     generated, stored, or maintained) or tangible things that qualify for protection under Federal Rule
23
     of Civil Procedure 26(c). This includes, but is not limited to, information or things containing
24

25
     1
26     Although Counter-defendants the Public Investment Fund of the Kingdom of Saudi Arabia
     (“PIF”) and His Excellency Yasir Othman Al-Rumayyan (“HE”) have sought a stay of discovery
27   as to discovery on PIF and HE while their challenges to the district court’s jurisdiction on a
     motion to dismiss and before the U.S. Court of Appeals for the Ninth Circuit remain pending
28   (Dkt. Nos. 395 and 396), PIF and HE also stipulate to this protective order. By stipulating to this
     protective order, PIF and HE do not waive, and expressly reserve all rights.
                                                      1
                                [PROPOSED] STIPULATED PROTECTIVE ORDER
                                      Case No. 5:22-CV-04486-BLF (SVK)
 1   trade secrets, proprietary research, development, and/or technical information that is not publicly
 2   available; sensitive financial, business, or commercial information that is not publicly available;
 3
     other information required by law or agreement to be kept confidential; or any other category of
 4
     information hereinafter given CONFIDENTIAL status by the Court.
 5
               2.3   Counsel (without qualifier): Outside Counsel of Record and House Counsel (as
 6

 7   well as their support staff).

 8             2.4   Disclosure or Discovery Material: all items or information, regardless of the

 9   medium or manner in which it is generated, stored, or maintained (including, among other things,
10
     testimony, transcripts, and tangible things), that are produced or generated in disclosures or
11
     responses to discovery in this matter.
12
               2.5   Expert: a person with specialized knowledge or experience in a matter pertinent to
13
     the litigation who has been retained by a Party or its counsel to serve as an expert witness or as a
14

15   consultant in this action.

16             2.6   “HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY”
17   Information or Items: extremely sensitive “Confidential Information or Items” in the possession,
18
     custody, or control of TMRW Sports that is highly proprietary or highly sensitive such that
19
     disclosure to House Counsel of a Party could create a substantial risk of serious harm to TMRW
20
     Sports.
21

22             2.7   House Counsel: attorneys who are employees of a party to this action. House

23   Counsel does not include Outside Counsel of Record or any other outside counsel.

24             2.8   Non-Party: any natural person, partnership, corporation, association, or other legal
25   entity not named as a Party to this action.
26
               2.9   Outside Counsel of Record: attorneys who are not employees of a party to this
27
     action but are retained to represent or advise a party to this action and have appeared in this action
28

                                                        2
                                  [PROPOSED] STIPULATED PROTECTIVE ORDER
                                        Case No. 5:22-CV-04486-BLF (SVK)
 1   on behalf of that party or are affiliated with a law firm which has appeared on behalf of that party.
 2          2.10    Party: any party to this action, including all of its officers, directors, employees,
 3
     consultants, retained experts, and Outside Counsel of Record (and their support staffs).
 4
            2.11    Professional Vendors: persons or entities that provide litigation support services
 5
     (e.g., photocopying, videotaping, translating, preparing exhibits or demonstrations, and
 6

 7   organizing, storing, or retrieving data in any form or medium) and their employees and

 8   subcontractors.

 9          2.12    Protected Material: any Disclosure or Discovery Material that is designated as
10
     “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES
11
     ONLY.”
12
            2.13    Receiving Party: a Party that receives Disclosure or Discovery Material from
13
     TMRW Sports.
14

15   III.   SCOPE

16          This Order applies not only to Protected Material furnished by TMRW Sports, but also to

17   (1) any information copied or extracted from Protected Material; (2) all copies, excerpts,
18   abstracts, analyses, summaries, descriptions, or other forms of recorded information containing,
19
     reflecting, compiling, or disclosing Protected Material; and (3) any testimony, conversations, or
20
     presentations by Parties or their Counsel that might reveal Protected Material. However, the
21
     protections conferred by this Order do not cover the following information: (a) any information
22

23   that is in the public domain at the time of disclosure to a Receiving Party or becomes part of the

24   public domain after its disclosure to a Receiving Party as a result of publication not involving a

25   violation of this Order, including becoming part of the public record through trial or otherwise;
26   and (b) any information known to the Receiving Party prior to the disclosure or obtained by the
27
     Receiving Party after the disclosure from a source who obtained the information lawfully and
28
     under no obligation of confidentiality to TMRW Sports. Any use of Protected Material at trial
                                                     3
                               [PROPOSED] STIPULATED PROTECTIVE ORDER
                                     Case No. 5:22-CV-04486-BLF (SVK)
 1   shall be governed by a separate agreement or order.
 2   IV.    DURATION
 3          Even after final disposition of this litigation, the confidentiality obligations imposed by
 4
     this Order shall remain in effect until TMRW Sports agrees otherwise in writing or a court order
 5
     otherwise directs. Final disposition shall be deemed to be the later of (1) dismissal of all claims
 6
     and defenses in this action, with or without prejudice; and (2) final judgment herein after the
 7

 8   completion and exhaustion of all appeals, rehearings, remands, trials, or reviews of this action,

 9   including the time limits for filing any motions or applications for extension of time pursuant to

10   applicable law.
11   V.     DESIGNATING PROTECTED MATERIAL
12
            5.1     Exercise of Restraint and Care in Designating Material for Protection. In
13
     designating information or items for protection under this Order, TMRW Sports must take care to
14
     limit any such designation to specific material that qualifies under the appropriate standards. To
15
     the extent it is practical to do so, TMRW Sports must designate for protection only those parts of
16

17   material, documents, items, or oral or written communications that qualify—so that other portions

18   of the material, documents, items, or communications for which protection is not warranted are
19   not swept unjustifiably within the ambit of this Order.
20
            5.2     Manner and Timing of Designations. Except as otherwise provided in this Order
21
     (see, e.g., second paragraph of Section 5.2(a) below), or as otherwise stipulated or ordered,
22
     Disclosure or Discovery Material that qualifies for protection under this Order must be clearly so
23

24   designated before the material is disclosed or produced, provided, however, that TMRW Sports’

25   failure to do so shall not constitute a waiver.

26          Designation in conformity with this Order requires:
27          (a) for information in documentary form (e.g., paper or electronic documents, but
28
     excluding transcripts of depositions or other pretrial or trial proceedings), that TMRW Sports
                                                      4
                                [PROPOSED] STIPULATED PROTECTIVE ORDER
                                      Case No. 5:22-CV-04486-BLF (SVK)
 1   affix the legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – OUTSIDE
 2   ATTORNEYS’ EYES ONLY” to each page that contains protected material.
 3
            If TMRW Sports makes original documents or materials available for inspection, TMRW
 4
     Sports need not designate them for protection until after the inspecting Party has indicated which
 5
     material it would like copied and produced. During the inspection and before the designation, all
 6

 7   of the material made available for inspection shall be deemed “HIGHLY CONFIDENTIAL –

 8   OUTSIDE ATTORNEYS’ EYES ONLY.” After the inspecting Party has identified the

 9   documents it wants copied and produced, TMRW Sports must determine which documents, or
10
     portions thereof, qualify for protection under this Order. Then, before producing the specified
11
     documents, TMRW Sports must affix the appropriate legend (“CONFIDENTIAL” or “HIGHLY
12
     CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY”) to each page that contains
13
     Protected Material.
14

15          (b) for deposition testimony, including transcripts, such testimony shall be deemed

16   “HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY” until the expiration of
17   twenty-one (21) days after the deposition unless otherwise designated at the time of the
18
     deposition or during the twenty-one (21) day period. Pages or entire transcripts of testimony
19
     given at a deposition or hearing may be designated as containing “CONFIDENTIAL” or
20
     “HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY” information by an
21

22   appropriate statement either at the time of the giving of such testimony or by written notification

23   within twenty-one (21) days after the deposition. The use of a document as an exhibit at a

24   deposition shall not in any way affect its designation as “CONFIDENTIAL” or “HIGHLY
25   CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY.”
26
            Transcripts containing Protected Material shall have an obvious legend on the title page
27
     that the transcript contains Protected Material, and the title page shall be followed by a list of all
28

                                                      5
                                [PROPOSED] STIPULATED PROTECTIVE ORDER
                                      Case No. 5:22-CV-04486-BLF (SVK)
 1   pages (including line numbers as appropriate) that have been designated as Protected Material and
 2   the level of protection being asserted by TMRW Sports. TMRW Sports shall inform the court
 3
     reporter of these requirements. Any transcript that is prepared before the expiration of the
 4
     twenty-one (21) day period for designation shall be treated during that period as if it had
 5
     been designated “HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY”
 6

 7   in its entirety unless otherwise agreed. After the expiration of that period, the transcript

 8   shall be treated only as actually designated.

 9          (c) for transcripts of pretrial and trial proceedings, Parties shall give the other parties
10
     notice if they reasonably expect a hearing or other proceeding to include Protected Material so
11
     that the other parties can ensure that only authorized individuals and individuals who have signed
12
     the “Acknowledgment and Agreement to Be Bound” (Exhibit A) are present at those proceedings.
13
     Procedures for requesting confidentiality designations of transcripts for pretrial and trial
14

15   proceedings shall be in accordance with paragraph 5.2(b) and redaction requests shall be made in

16   accordance with General Order No. 59 and any other applicable rules and procedures set forth by
17   the Court. If TMRW Sports seeks redaction of portions of a hearing or trial transcript disclosing
18
     its Protected Material, the Receiving Party agrees not to unreasonably withhold its consent to
19
     such a request.
20
            (d) for information contained in written discovery responses, the responses may be
21

22   designated as containing “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – OUTSIDE

23   ATTORNEYS’ EYES ONLY” information by means of a statement at the conclusion of each

24   response that contains such information specifying the level of designation of the Protected
25   Material and by placing a legend on the front page of such discovery responses stating:
26
     “CONTAINS CONFIDENTIAL INFORMATION/[the highest level of designation contained in
27
     the answers].”
28

                                                      6
                                [PROPOSED] STIPULATED PROTECTIVE ORDER
                                      Case No. 5:22-CV-04486-BLF (SVK)
 1          (e) for information produced in some form other than documentary and for any other
 2   tangible items, that TMRW Sports affix in a prominent place on the exterior of the container or
 3
     containers in which the information or item is stored the legend “CONFIDENTIAL” or
 4
     “HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY.” If only a portion or
 5
     portions of the information or item warrant protection, TMRW Sports, to the extent practicable,
 6

 7   shall identify the protected portion(s) and specify the level of protection being asserted.

 8          5.3     Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to

 9   designate qualified information or items does not, standing alone, waive TMRW Sports’ right to
10
     secure protection under this Order for such material. Upon timely correction of a designation, the
11
     Receiving Party must make reasonable efforts to assure that the material is treated in accordance
12
     with the provisions of this Order.
13
     VI.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
14
            6.1     Timing of Challenges. Any Party or Non-Party may challenge a designation of
15

16   confidentiality at any time. Unless a prompt challenge to TMRW Sports’ confidentiality

17   designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic
18   burdens, or a significant disruption or delay of the litigation, a Party or Non-Party does not waive
19
     its right to challenge a confidentiality designation by electing not to mount a challenge promptly
20
     after the original designation is disclosed.
21
            6.2     Meet and Confer. The Challenging Party shall initiate the dispute resolution
22

23   process by providing written notice of each designation it is challenging and describing the basis

24   for each challenge. To avoid ambiguity as to whether a challenge has been made, the written

25   notice must recite that the challenge to confidentiality is being made in accordance with this
26   specific paragraph of this Order. The Challenging Party and TMRW Sports shall attempt to
27
     resolve each challenge in good faith and must begin the process by conferring directly (in voice to
28
     voice dialogue; other forms of communication are not sufficient) within fourteen (14) days of the
                                                      7
                                [PROPOSED] STIPULATED PROTECTIVE ORDER
                                      Case No. 5:22-CV-04486-BLF (SVK)
 1   date of service of notice. In conferring, the Challenging Party must explain the basis for its belief
 2   that the confidentiality designation was not proper and must give TMRW Sports an opportunity to
 3
     review the designated material, to reconsider the circumstances, and, if no change in designation
 4
     is offered, to explain the basis for the chosen designation. A Challenging Party may proceed to
 5
     the next stage of the challenge process only if it has engaged in this meet and confer process first
 6

 7   or establishes that TMRW Sports is unwilling to participate in the meet and confer process in a

 8   timely manner.

 9          6.3     Judicial Intervention. If the Challenging Party and TMRW Sports cannot resolve a
10
     challenge without court intervention, they shall submit a joint statement in accordance with Judge
11
     van Keulen's Civil and Discovery Referral Matters Standing Order (and in compliance with Civil
12
     Local Rule 79-5, if applicable) within twenty-one (21) days of the initial notice of challenge or
13
     within fourteen (14) days of the Challenging Party and TMRW Sports agreeing that the meet and
14

15   confer process will not resolve their dispute, whichever is earlier. Each such joint statement must

16   affirm that the Challenging Party and TMRW Sports have complied with the meet and confer
17   requirements imposed in the preceding paragraph. In addition, TMRW Sports may initiate a joint
18
     statement seeking to retain confidentiality in response to a notice of challenge. Any joint
19
     statement submitted pursuant to this provision must affirm that the Challenging Party and TMRW
20
     Sports have complied with the meet and confer requirements imposed by the preceding
21

22   paragraph.

23          The burden of persuasion in any such challenge proceeding shall be on TMRW Sports.

24   Frivolous challenges and those made for an improper purpose (e.g., to harass or impose
25   unnecessary expenses and burdens on other parties) may expose the Challenging Party to
26
     sanctions. Unless TMRW Sports has waived the confidentiality designation by failing to initiate a
27
     joint statement seeking to retain confidentiality as described above, all parties shall continue to
28

                                                      8
                                [PROPOSED] STIPULATED PROTECTIVE ORDER
                                      Case No. 5:22-CV-04486-BLF (SVK)
 1   afford the material in question the level of protection to which it is entitled under TMRW Sports’
 2   designation until the court rules on the challenge.
 3
     VII.      ACCESS TO AND USE OF PROTECTED MATERIAL
 4
               7.1    Basic Principles. A Receiving Party may use Protected Material that is disclosed or
 5
     produced by TMRW Sports in connection with this case only for prosecuting, defending, or
 6
     attempting to settle this litigation. Such Protected Material may be disclosed only to the
 7

 8   categories of persons and under the conditions described in this Order. When the litigation has

 9   been terminated, a Receiving Party must comply with the provisions of Section 12 below (FINAL

10   DISPOSITION). Protected Material must be stored and maintained by a Receiving Party at a
11
     location and in a secure manner that ensures that access is limited to the persons authorized under
12
     this Order. Protected Material that originates in the United States or the United Kingdom,
13
     including all “CONFIDENTIAL” Information or Items, may be transmitted between those
14
     jurisdictions as necessary to comply with this Order and other discovery obligations, but may not
15

16   otherwise be removed from the United States or United Kingdom. Any use of Protected Material,

17   regardless of location, will be governed by this Order and the applicable laws of the United
18   States.
19
               7.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise ordered
20
     by the court or permitted in writing by TMRW Sports, a Receiving Party may disclose any
21
     information or item designated “CONFIDENTIAL” only to:
22

23             (a) the Receiving Party’s Outside Counsel of Record in this action, as well as employees

24   of said Outside Counsel of Record to whom it is reasonably necessary to disclose the information

25   for this litigation, all of whom have signed the “Acknowledgment and Agreement to Be Bound”
26   (Exhibit A);
27
               (b) the officers, directors, and employees (including House Counsel) of the Receiving
28
     Party to whom disclosure is reasonably necessary for this litigation and who have signed the
                                                       9
                                 [PROPOSED] STIPULATED PROTECTIVE ORDER
                                       Case No. 5:22-CV-04486-BLF (SVK)
 1   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 2          (c) Experts (as defined in this Order) of the Receiving Party to whom disclosure is
 3
     reasonably necessary for this litigation and who have signed the “Acknowledgment and
 4
     Agreement to Be Bound” (Exhibit A);
 5
            (d) the court and its personnel;
 6

 7          (e) court reporters and their staff, professional jury or trial consultants, mock jurors, and

 8   Professional Vendors to whom disclosure is reasonably necessary for this litigation and who have

 9   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
10
            (f) during their depositions, witnesses in the action to whom disclosure is reasonably
11
     necessary and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A),
12
     unless otherwise agreed by TMRW Sports or ordered by the court. Pages of transcribed
13
     deposition testimony or exhibits to depositions that reveal Protected Material must be separately
14

15   bound by the court reporter and may not be disclosed to anyone except as permitted under this

16   Order; and
17          (g) the author or recipient of a document containing the information or a custodian or
18
     other person who otherwise possessed or knew the information.
19
            7.3     Disclosure of “HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES
20
     ONLY” Information or Items. Unless otherwise ordered by the court or permitted in writing by
21

22   TMRW Sports, a Receiving Party may disclose any information or item designated “HIGHLY

23   CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY” only to:

24          (a) the Receiving Party’s Outside Counsel of Record in this action, as well as employees
25   of said Outside Counsel of Record to whom it is reasonably necessary to disclose the information
26
     for this litigation and who have signed the “Acknowledgment and Agreement to Be Bound”
27
     (Exhibit A);
28

                                                     10
                               [PROPOSED] STIPULATED PROTECTIVE ORDER
                                     Case No. 5:22-CV-04486-BLF (SVK)
 1          (b) Experts of the Receiving Party (1) to whom disclosure is reasonably necessary for this
 2   litigation, (2) who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A),
 3
     and (3) as to whom the procedures set forth in paragraph 7.4(a), below, have been followed;
 4
            (c) the court and its personnel;
 5
            (d) court reporters and their staff, professional jury or trial consultants, and Professional
 6

 7   Vendors to whom disclosure is reasonably necessary for this litigation; and

 8          (e) the author or recipient of a document containing the information or a custodian or

 9   other person who otherwise possessed or knew the information.
10
            7.4       Procedures for Approving or Objecting to Disclosure of “HIGHLY
11
     CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY” Information or Items to Experts.
12

13          (a) Unless otherwise ordered by the court or agreed to in writing by TMRW Sports, a

14   Party that seeks to disclose to an Expert (as defined in this Order) any information or item that

15   has been designated “HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY”

16   pursuant to paragraph 7.3(b) first must provide written notice to TMRW Sports that (1) sets forth

17   the full name of the Expert and the city and state of his or her primary residence, (2) attaches a

18   copy of the Expert’s current resume, (3) identifies the Expert’s current employer(s), (4) identifies

19   each person or entity from whom the Expert has received compensation or funding for work in

20   his or her areas of expertise or to whom the Expert has provided professional services, including

21   in connection with a litigation, at any time during the preceding five years, 2 and (5) identifies (by
                                                                                    1F




22

23          2
                If the Expert believes any of this information is subject to a confidentiality obligation to
24
     a third- party, then the Expert should provide whatever information the Expert believes can be
25
     disclosed without violating any confidentiality agreements, and the Party seeking to disclose to
26
     the Expert shall be available to meet and confer with TMRW Sports regarding any such
27

28   engagement.

                                                       11
                                 [PROPOSED] STIPULATED PROTECTIVE ORDER
                                       Case No. 5:22-CV-04486-BLF (SVK)
 1   name and number of the case, filing date, and location of court) any litigation in connection with

 2   which the Expert has offered expert testimony, including through a declaration, report, or

 3   testimony at a deposition or trial, during the preceding five years.

 4          (b) A Party that provides notice and provides the information specified in the preceding

 5   paragraph may disclose the subject Protected Material to the identified Expert unless, within

 6   seven (7) calendar days of delivering the request, the Party receives a written objection from

 7   TMRW Sports. Any such objection must set forth in detail the grounds on which it is based.

 8          (c) A Party that receives a timely written objection must meet and confer with TMRW

 9   Sports (through direct voice to voice dialogue) to try to resolve the matter by agreement within

10   seven (7) calendar days of the written objection. If no agreement is reached, the Party seeking to

11   make the disclosure to the Expert may initiate a joint submission as provided in Judge van

12   Keulen’s standing order (and in compliance with Civil Local Rule 79-5, if applicable) seeking

13   permission from the court to do so. Any such joint submission must describe the circumstances

14   with specificity, set forth in detail the reasons why disclosure to the Expert is reasonably

15   necessary, assess the risk of harm that the disclosure would entail, and suggest any additional

16   means that could be used to reduce that risk. In addition, any such joint submission parties’

17   efforts to resolve the matter by agreement (i.e., the extent and the content of the meet and confer

18   discussions) and setting forth the reasons advanced by TMRW Sports for its refusal to approve

19   the disclosure.

20          In any such proceeding, the Party opposing disclosure to the Expert shall bear the burden

21   of proving that the risk of harm that the disclosure would entail (under the safeguards proposed)

22   outweighs the Receiving Party’s need to disclose the Protected Material to its Expert.
     VIII. PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
23          OTHER LITIGATION
24          If a Party is served with a subpoena or a court order issued in other litigation that compels
25
     disclosure of any information or items designated in this action as “CONFIDENTIAL” or
26
     “HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY” that Party must:
27
            (a) promptly notify TMRW Sports in writing. Such notification shall include a copy of the
28

                                                      12
                                [PROPOSED] STIPULATED PROTECTIVE ORDER
                                      Case No. 5:22-CV-04486-BLF (SVK)
 1   subpoena or court order;
 2          (b) promptly notify in writing the party who caused the subpoena or order to issue in the
 3
     other litigation that some or all of the material covered by the subpoena or order is subject to this
 4
     Order. Such notification shall include a copy of this Order; and
 5
            (c) cooperate with respect to all reasonable procedures sought to be pursued by TMRW
 6

 7   Sports whose Protected Material may be affected. 3   2F




 8          If TMRW Sports timely seeks a protective order, the Party served with the subpoena or
 9
     court order shall not produce any information designated in this action as “CONFIDENTIAL” or
10
     “HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY” before a determination
11
     by the court from which the subpoena or order issued, unless the Party has obtained TMRW
12

13   Sports’ permission. TMRW Sports shall bear the burden and expense of seeking protection in that

14   court of its confidential material—and nothing in these provisions should be construed as

15   authorizing or encouraging a Receiving Party in this action to disobey a lawful directive from
16   another court.
17
     IX.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
18
            If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected
19
     Material to any person or in any circumstance not authorized under this Order, the Receiving
20
     Party must immediately (a) notify TMRW Sports in writing of the unauthorized disclosures, (b)
21

22   use its best efforts to retrieve all unauthorized copies of the Protected Material, (c) inform the

23   person or persons to whom unauthorized disclosures were made of all the terms of this Order, and

24

25          3
                The purpose of imposing these duties is to alert the interested parties to the existence of
26
     this Protective Order and to afford TMRW Sports an opportunity to try to protect its
27

28   confidentiality interests in the court from which the subpoena or order issued.

                                                       13
                                 [PROPOSED] STIPULATED PROTECTIVE ORDER
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 1   (d) request such person or persons to execute the “Acknowledgment and Agreement to Be
 2   Bound” that is attached hereto as Exhibit A.
 3
     X.     INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
 4          PROTECTED MATERIAL

 5          When TMRW Sports gives notice to Receiving Parties that certain inadvertently produced

 6   material is subject to a claim of privilege or other protection, the obligations of the Receiving
 7   Parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This provision is not
 8
     intended to modify whatever procedure may be established in an e-discovery order that provides
 9
     for production without prior privilege review. Pursuant to Federal Rule of Evidence 502(d) and
10
     (e), insofar as TMRW Sports and the Receiving Party reach an agreement on the effect of
11

12   disclosure of a communication or information covered by the attorney-client privilege or work

13   product protection, TMRW Sports and the Receiving Party may incorporate their agreement in

14   the Order submitted to the court.
15          If TMRW Sports inadvertently produces or provides discovery of any Confidential
16
     Information without labeling or marking it as provided in this Protective Order, TMRW Sports
17
     may give written notice to the Receiving Party or Parties—within ten (10) business days after
18
     becoming aware of the inadvertent production—that the information should be treated as
19
20   Confidential in accordance with the provisions of this Protective Order. If such notice is provided

21   by TMRW Sports, TMRW Sports will provide copies of the properly marked information (e.g.,

22   documents, discovery responses, transcripts, things, and/or all other information within the scope
23
     of this Protective Order). Upon receipt of such notice and properly marked information, the
24
     Receiving Party or Parties shall, to the extent practicable, return or destroy the unmarked or
25
     incorrectly marked information and not retain copies thereof, and shall undertake a reasonable,
26
     good-faith effort to correct any disclosure of such information contrary to the redesignation. The
27

28   Party receiving such notice shall also make a reasonable, good-faith effort to ensure that any

                                                      14
                                [PROPOSED] STIPULATED PROTECTIVE ORDER
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 1   analyses, memoranda, notes, or other such material generated based upon such newly designated
 2   information are immediately treated as containing Confidential Information. Prior to receipt of
 3
     such notice, disclosure of such documents, things, information, responses and testimony to
 4
     persons not authorized to receive Confidential Information shall not be deemed a violation of this
 5
     Protective Order.
 6
     XI.    MISCELLANEOUS
 7
            12.1 Right to Further Relief. Nothing in this Order abridges the right of any person to
 8
     seek its modification by the court in the future.
 9
            12.2    Right to Assert Other Objections. By stipulating to the entry of this Order no Party
10

11   or Non-Party, including TMRW Sports, waives any right it otherwise would have to object to

12   disclosing or producing any information or item on any ground not addressed in this Order.

13   Similarly, no Party or Non-Party, including TMRW Sports, waives any right to object on any
14   ground to use in evidence of any of the material covered by this Order.
15
            12.3    TMRW Sports’ Material. The restrictions on the use of Protected Material
16
     established by this Order are applicable only to the use of information received by a party from
17
     TMRW Sports. A Party is free to use its own information as it pleases.
18

19          12.4    Filing Protected Material. A Party may not file in the public record in this action

20   any Protected Material without written permission from TMRW Sports or a court order secured

21   after appropriate notice to all interested persons. A Party that seeks to file under seal any
22
     Protected Material must comply with Civil Local Rule 79-5. Protected Material may only be filed
23
     under seal pursuant to a court order authorizing the sealing of the specific Protected Material at
24
     issue. If a request to file Protected Material under seal pursuant to Civil Local Rule 79-5(d) is
25
     denied by the court, then the filing party may file the Protected Material in the public record
26

27   pursuant to Civil Local Rule 79-5(f) unless otherwise instructed by the court.

28          12.5    Advice of Counsel. Nothing in this Order shall prevent or otherwise restrict

                                                      15
                                [PROPOSED] STIPULATED PROTECTIVE ORDER
                                      Case No. 5:22-CV-04486-BLF (SVK)
 1   Outside Counsel of Record from rendering advice to their clients and, in the course thereof,
 2   relying generally on Protected Material; provided, however, that in rendering such advice counsel
 3
     shall not disclose, reveal or describe any such materials except insofar as allowed (if allowed at
 4
     all) under the terms of this Order.
 5
     XII.   FINAL DISPOSITION
 6
            Within sixty (60) days after the final disposition of this action, as defined in paragraph 4,
 7

 8   each Receiving Party must return all Protected Material to TMRW Sports or destroy such

 9   material. As used in this subdivision, “all Protected Material” includes all copies, abstracts,

10   compilations, summaries, and any other format reproducing or capturing any of the Protected
11
     Material. Whether the Protected Material is returned or destroyed, the Receiving Party must
12
     submit a written certification to TMRW Sports by the 60 day deadline that confirms that the
13
     Receiving Party has not retained any copies, abstracts, compilations, summaries or any other
14
     format reproducing or capturing any of the Protected Material. Notwithstanding this provision,
15

16   Counsel are entitled to retain an archival copy of all pleadings, motion papers, trial, deposition,

17   and hearing transcripts, legal memoranda, correspondence, deposition and trial exhibits, even if
18   such materials contain Protected Material. Any such archival copies that contain or constitute
19
     Protected Material remain subject to this Protective Order as set forth in Section 4 (DURATION).
20
            IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
21
     Dated: April 20, 2023                         GIBSON, DUNN & CRUTCHER LLP
22
                                                 By: /s/ Rachel S. Brass
23
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24                                                 rbrass@gibsondunn.com
                                                 LAUREN D. DANSEY, SBN 311886
25                                                 ldansey@gibsondunn.com
                                                 GIBSON, DUNN & CRUTCHER LLP
26                                               555 Mission Street, Suite 3000
                                                 San Francisco, California 94105-0921
27                                               Telephone: 415.393.8200
                                                 Facsimile: 415.393.8306
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                                                      16
                                [PROPOSED] STIPULATED PROTECTIVE ORDER
                                      Case No. 5:22-CV-04486-BLF (SVK)
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23

24                Attorneys for Plaintiffs Matt Jones, Bryson
                  DeChambeau, Peter Uihlein, and Plaintiff and
25                Counterclaim Defendant LIV Golf Inc.

26

27

28

                           17
     [PROPOSED] STIPULATED PROTECTIVE ORDER
           Case No. 5:22-CV-04486-BLF (SVK)
 1   Dated: April 20, 2023                           KEKER, VAN NEST & PETERS LLP

 2
                                               By:   /s/ Sophie Hood
 3
                                                     ELLIOT R. PETERS
 4                                                   DAVID SILBERT
                                                     R. ADAM LAURIDSEN
 5                                                   NICHOLAS S. GOLDBERG
                                                     SOPHIE HOOD
 6
                                                     Attorneys for Defendant and Counter-
 7                                                   Claimant
                                                     PGA TOUR, INC.
 8

 9                                                   SKADDEN, ARPS, SLATE, MEAGHER
                                                     & FLOM LLP
10

11                                                   ANTHONY J. DREYER
                                                     PATRICK FITZGERALD
12                                                   KAREN M. LENT
                                                     MATTHEW M. MARTINO
13
                                                     Attorneys for Defendant and Counter-
14                                                   Claimant
                                                     PGA TOUR, INC.
15

16
     Dated: April 20, 2023                    By: /s/ Carolyn B. Lamm
17

18                                                   Carolyn Lamm (pro hac vice)
                                                     Hansel Pham (pro hac vice)
19                                                   Nicolle Kownacki (pro hac vice)
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                                                     Jack E. Pace III (pro hac vice)
25                                                   Kimberly A. Havlin (pro hac vice)
                                                     Hannelore Sklar (pro hac vice)
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28                                                   Facsimile: (212) 354-8113
                                                     jpace@whitecase.com
                                                   18
                             [PROPOSED] STIPULATED PROTECTIVE ORDER
                                   Case No. 5:22-CV-04486-BLF (SVK)
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                                                     hannelore.sklar@whitecase.com
 2

 3                                                   Heather M. Burke (SBN 284100)
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 5                                                   Telephone: (650) 213-0300
                                                     Facsimile: (650) 213-8158
 6
                                                     hburke@whitecase.com
 7
                                                     Attorneys for Counter-Defendants The
 8                                                   Public Investment Fund of the Kingdom of
                                                     Saudi Arabia and His Excellency Yasir O.
 9                                                   Al-Rumayyan

10
     Dated: April 20, 2023                           CLARENCE DYER & COHEN LLP
11

12                                             By:   /s/ Josh A. Cohen
13                                                   Josh A. Cohen

14                                                   899 Ellis Street
                                                     San Francisco, CA 94109
15                                                   Telephone: (415) 749-1800
                                                     Facsimile: (415) 749-1694
16                                                   jcohen@clarencedyer.com

17                                                   Attorneys for Non-Party TMRW Sports

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                             [PROPOSED] STIPULATED PROTECTIVE ORDER
                                   Case No. 5:22-CV-04486-BLF (SVK)
 1                    ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1
 2          Pursuant to Civil Local Rule 5-1(h)(3) of the Northern District of California, I attest that
 3
     concurrence in the filing of the document has been obtained from each of the other signatories to
 4
     this document.
 5
     Dated: April 20, 2023                        /s/     Rachel S. Brass
 6                                                       Rachel S. Brass
 7

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                              [PROPOSED] STIPULATED PROTECTIVE ORDER
                                    Case No. 5:22-CV-04486-BLF (SVK)
 1   PURSUANT TO STIPULATION, IT IS SO ORDERED.
 2

 3   Dated: April 21, 2023
                                            HON. SUSAN VAN KEULEN
 4                                          United States Magistrate Judge
 5

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                             [PROPOSED] STIPULATED PROTECTIVE ORDER
                                   Case No. 5:22-CV-04486-BLF (SVK)
 1                                   EXHIBIT A
                      ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 2
            I, ______________________________ [print or type full name], of
 3

 4   ____________________ [print or type full address], declare under penalty of perjury that I have

 5   read in its entirety and understand the Stipulated Protective Order that was issued by the United
 6   States District Court for the Northern District of California on ____________[date] in the case of
 7
     Jones et al. v. PGA Tour, 5:22-cv-04486-BLF. I agree to comply with and to be bound by all the
 8
     terms of this Stipulated Protective Order and I understand and acknowledge that failure to so
 9
     comply could expose me to sanctions and punishment in the nature of contempt. I solemnly
10

11   promise that I will not disclose in any manner any information or item that is subject to this

12   Stipulated Protective Order to any person or entity except in strict compliance with the provisions

13   of this Order.
14          I further agree to submit to the jurisdiction of the United States District Court for the
15
     Northern District of California for the purpose of enforcing the terms of this Stipulated Protective
16
     Order, even if such enforcement proceedings occur after termination of this action. I hereby
17
     appoint ______________________________ [print or type full name] of
18

19   ______________________________ [print or type full address and telephone number] as my

20   California agent for service of process in connection with this action or any proceedings related to

21   enforcement of this Stipulated Protective Order.
22
     Date: ___________________________________
23
     City and State where sworn and signed: ___________________________________
24
     Printed name: ___________________________________
25
     Signature: ___________________________________
26

27

28


                               [PROPOSED] STIPULATED PROTECTIVE ORDER
                                     Case No. 5:22-CV-04486-BLF (SVK)
